 
  
   

fm W/é' d»//g§@l§jg@z ’ g@@/
3 1 -, -RJW€Q/{/L%M -. ‘ /' ' ~
y/:f/e/cf W y/Mj/W/V L\__"fé@/
RECE|VED D) ‘

     
  

 

 

é/)"€>/ C’A§?E€Lan//z?€/ 1
w (Gq B wEsTERNmsrR/é[rls' 'ST‘§CTCOUF: ad
\[ compme WA ""~'T°N ACOMA
~ M g

”/W”//~ ¢”'” MZ§.ZM.
magon w …», / » W W  

' 7st C/ML 4677¢// Mzé 1;/5
EB‘I;/, wm &)mf /=a;( #/ww»[g

 

WFFW /M/§/m/Mm/W/ ANM/ M?ZM %/M /@6_€#¢

ZEFE/m¢wz L___/g_n,/r

w W/A/jo/cf/a/;/;

7) /<’/m<WE/§/z L/Fwe,/¢ep w dpw/pr m HM/Mm/,/g

Acv;- M,we;¢ /3 ¢/,.s,c.z/%L w /%/z;) 541/63 w
cf comer M//w¢/?Y l”’” ¢F/£/?¢/

(//v/f€p 577¢75 D/.zfz/

m/)¢re€ JY/wD/crm/ m/E,e #//ls /551/€/0/5”/7€ W///r'
/f,<¢$£$ aff af /’_¢,4/»4/7//'+3 AM@,¢/ 77/#7’ M\/AMZ'S
617/»¢”5”£”759 //'/ con/wm w»/§,v/¢e/)c/ $ /l‘f/€//€ /7'7’”

3 ¢eé/)/ dom#£//.s/¢r/M /// {//A,més /z/, //z'z cM'/€/d/f/;
gp /A/I/€Aj DEF@M/MZS /MI€A /,4/ mL¢b'/m/ 72 gge/.v§£"
uaw />M///f/HB code /)1/)76€/41, W/m/a¢f /¢¢m'/$-

W/\/ ap F,QAuo¢/LQW’ '

 

cba/rm 7//~$ #mb/V mma/res

Fpgé/e,¢)§ He/;{/p) L'H/l/.S//Mé}{ /;;l/p A,ZEAC// VF M
¢;¢L /A/ y/oW/M ¢)F /5 U,S,G. §/%L /MD /?@/65'>'
L) weaver 75 ;¢5 MS.C, ?/332 MH'/%’/@, ) WSw/W
m/r/A/W/¢/; .zz/A\/’Zaf m#z/Wz JZ/,eczo/o'/'/'w\/. énzmz/

WE§T/”/V JZ/»Q/§D/¢W/\/ 561 " '
/¢/6' D)VEHS/ ”
ALLL 6/ V/L /M 7704/.5 A;€/.s//»/é'/ 1////06@ 7»€ %;W&W;;Z%/A

0,< nee/mag CW:WW .§M;» M“QEPM@ ‘¢z
/)\/ M\//Wp SW% D/:Vz/d' dol/ma N/D W/€ Moc//\/T@F mM/éz/

A/77€0 .s gaé€£$#?§"wa@ ,, _ _
M/ 60 VEU moy/siu @;"om, mo osm/am

l_ /w>/ /éwv //m/@ /A/ //75' ,%w,/ ge gomez m /ZMM)/
B>’ K¢/)S“‘/ ”F *’/”MWA/ 0/'- MM /%¢ oF W//s' €//4//6€
/r//»/ 515 7/7@<¢6%/<€ /»/ 7/)€ ///wp,e//h€ umw fm
0/57/@/¢7' cw»@f' Mv Jf/»LL /€6€¢/6€(3) maze/Vw 77/€'
umwa //€dzzsf/'HM; 471/0 vt wri% 7;/§51//5 55: /5
¢/,s. a. § /%z/[c), L,’w/J<'m/ Aw ém»/r walz/mms Awwsr

.' l/,$.G,§ l‘i(o‘/'(a)
K'¢” WW”~'S< ziM . ~QF msi ..    
0 /'/ am 79 ’7557'7’5 )€€<W/£E/))€/vzz 75 saw /4/
zzT/f@u§fm/& /,L c’///L /€/cv umwde pw/m/z¢ /m/jf.zwn/
"T“/” ”/‘ ’"O/€€ /’z€¢)/c#¢ /1¢15” ar '/;’¢)c,We/»/Q M)//T)'/ ”
3)' DEFHVD/)»/z_’s.

,Z)v#e /Z/)//»/T/H¢ /rL§o majf§/,M W 7%€ ,€HQW//G /?eeZ/wra§
”E€M jdl/0 77/07'7$6/ 6%701/4/7`70"0€&‘}%¢7'0/:
can/m/Vép mma/fl ocr/mg 563 /)€J'//c/a. 1./ A/¢W¢/zraa/A’€ZL
Qefhw/€ c'a, 791 diaz /07076.71573.

gym/uan man 5/11"/ ¢A/ /}czz//L '1(7¢'0 "//JUMY/d/! u////c/f usx/w
/A/¢/HLV&'S amf amf éF M/Mn//~WA 1237 06 A»€€fc’/,c¢ecf/m/
/lm//ff€$ we 1156 JF H/ms uaw/dev @/)7 %@Z ”i M `

”//WH»/ 0/= /€/)<'.<€feze/»ve'» #a;'mr;" W/f'?r W/co' /%a/M/zz /.'z 567
our /W/C# ma£€ P,Q€c/£¢¥ mm /A/ /170,€6¢€#)/¢, /4/ 13 0.50,§

»/%2; we 555 Ww-o,mz ;./ Mw@‘e:>, /35 534,9, // (z'/"€/z /WD.

wE Jf/f»/M@ /s 15 §//¢m/ dr ze»;zr 7»7/¢ w a/: IMM~
M/@ /+cm//r;/ w/m/A/ ,}. /@ /g,;¢ /gwp/ /g Ms, ¢, f /%/(5)

q % d/,V/L 050 F¢#/)vr/H‘ /'7067" /flza 5//0“/ "//"U""'€éZ /4/ 595
“5”“35 de wm "¢9/ 765/660 W.%¢Wm{ u////c?f€/¢/,QSM

 

 

//~ew MC?F€%W§§W %WY‘"MW wax/w §§
.9,/ amre'-M@ §§ §§ z/, A’oe: 956 621/793 7103 nwa/g

/‘m); //M L/ /}'/5€1”/{5 %,Z 560/y 5:§~§§ (§D. l/§./Wz).
//€/€éj /LH///??H§ $5% Wf /f/§ 503/68 / €' "W/£W€¢fW/€B/ES
§§ § § Mé§r§w§

§ § §m’éz,e _z; 77/;§1/6# 7”'§ , _
wm Mw/§a/§<»wdw»/ 7,¢7¢§;’ w M, //f§ zim/§§ 7)/§
f 523/6 /7,€§ /%/_'5 /§€¢W//`[/

fly/7sz K w 7//92§ az 75 ,
P/w/>émj ”‘/@ W/)€ /h§ M §§?HH/ /MT¢//§v F/»//Mcma>j
H”Mm//)¢L;,/ /)r/o /”/./§c’//§,l§ 4///;¢1/ W §§ W/§€f w/MW»§/L
D/'sm/me/ ad /)1¢ HH§F //- 77/§§§ c'a//,e/W /”/f'/€Q/Aé>,
ME' wrr/m/m/ /)»/0 /A/f§M§r/m//,»¢L/ §*/ LUL’€W/)»/B /4/ §
cm/m/(/ads '{co./@er a/§,emm¢ ' deng 75 £L"/’,€/l/€ MWH”H‘

arm law d§m@V'/£€W¢@§»
/m/f$ 04/0€/< /5 05,0, f /qw. mm /q(¢/(§)
5) Me/§H;zwé/ wmva mu§r §§1§.§¢/># me "/¢ewme

nmv/r/" /j ,Qec§M/z§o /)§ gem/§ /ae.§¢rc m/A§L swr§*
Lifuj /.€- f/fEF ’ch?/}. 5¢.0¢¢>(/)(£>) nw 94.5;,,0¢0@)@;;%_@#

KCM/ 74 100. ozoz/)@(b). umw 7;/6§: w/ 7. §§ 010¢3>.
FEF€A/OAA/B, /fCW/Vé' 45 /I¢wmp//¢es/ /\//;770,\/;;#/ nw //l/fEMMM*
/L £Pf€/UEZ `

ML)', /))/0 //v n/»zs/f//uém/ sm§: mm 2006 1/A/r
20/7) D/D » W/L#WH/LL)§ fi§MA//az/_.s,c;j , MaM///W 057)')/§/) fws,

4

é/§E 124 717me /¢ mens oF w§/)VH c#mm/, m /VA/»»/wr{,
/a//:ommu¢(, m /”,¢§/E)€f}/ oF- /f»v/a M kem/l ¢/¢//»/6~ am
DW; 75 win €§)»e>/ C’/z§zEQZaI-M{ h///f¢ wra/r v cam/mg
p,e 75 /,‘w§ 0,2 war /m/ c%//n€ 471/§ 771§§§/ wmw g,,/
/¢M§M woqu §§ /»70»/6;/, M§, $/¢¢//§', wl /)»//1//1/\/ § E/`§€
JF I/rl¢/§ 41/ §€c.§¥§ ¢YF 194/5 WM§MA ipé'WA/p,af£ ¢v/£§e§)
M/<>/ W /€C'( ?.3§.'0¢0 (/) &)@),»Mp pg awry/5 /;M,,M
g}/ 725 wa/A/é' C]//¢l:’(//”.§fg*/¢é;. pylez(/M»?b» (c“/Z f}l4' 535

 

 

(3?{4). /’w»‘;@18 Y%"§§M§P§UWWWWFWM/¢ #Z/
lm,v,U CHT70A/.5, 0,€ /f 5€,€/€5 ap g/W/jg/ MHH pz/AL \
dod§/%é/Mm//MM/x/f}/ pp /W}/ 01 7//5 éwh/Wé, z _ 9
17/¢§5 defamasz MW€ c',<e>¢;§p way/me /,zgp, @7? /
0/§/’§//5§ Mf//`v<? M 75 zm/,; ,z_) pfng A<€@,M le/%

’”/””/é M”`L ””””’ "”§5 W" /“/””H€'§) ms /¢@/C,,,g
/ICNV/f/ ,/4/1/01./!:’0 0 ///6# Mé€ a,,-; $p/f/SWMM
PZ/M//v//lgl W/f’?f &’§/C'M/ adm/wi M/r§,¢r mr a ¢'M@

aaa § law )éz/zz< §@/00,' ¢.) §/§¢/M/r§ m W£
TE¢/h//g}¢, 5,4;/¢//, /*/f/€A/&r"#&/ma/, /a.§/rm[; /).z ,£€é/r//”/WE 1

Bl/SM/é’~§§.§ Z mal/de flaw 5/1‘1907?¢6€ 745 ,é§qu/sw//_h;/
13 emma/qu pw/¢f/H§ %§WM%‘ 5;) ¢/zew 7/7¢§/€
;VDl/c:/A/€/ ,€§5/£'4/5/6/1/7}/ 75 F?C/l/F?f€ W€ fpmm/.§§/a/¢/ JF
,,//7;;¢ A‘/mc/W§ 75 _/Y wmde amy/va Wf,a<§ //»7,0¢/ ,

/)1@:/§0 wm 4 jrz§fwf /zae;z/m

6)/¢/)/1//7% %W/<ED §§ 7/»@ /7/%£§/)7@¢/7704/@ M/€_§
§1/6¢/§//§0 ff/m/é'¢/ 724/§§ /f/J¢/z///A/ §c’,a/)M/%

.7/§/§ /%r W/a MW/)@zz Ma§ 52 ",’Wa¢/ 77/2 556 §§
/f §m/§§< 1 §§ .zz 77/€.@/@ :’ //¢'f§‘/ /// wzz
mm wa azpe§f/§/LL)/,

$WHW” W § HA@€D /Z/f ,ZM,..
715 7;/7'@ 529/g 'l/*l//ZD/%W“A)v/ /ZM 7/}£€~)’ 5/@¢/@5/;
6}/ 567/115 <//Vwaa//V /&’zp,¢/l M/;¢ /W/¢/» 521/51§1/7~

~ 1 7 w
/WB P//p)yg A/o//”MES;$TDKM M 371/l lA£éu/od£/ /1{4 gng

g lowan /jg ,4§/52, /#M .e
;z;z:jz`:?/@ W/zz 6§61/5/ /zL§é¢)L @A/f/';/f/U:"'
/A/§»¢A/H'rm/A/z;, sac£s af= /;// 77/¢&’ 6§9£’5»

7) F//f/A/f“/FFC&SW§W%`RJV»\PMMW¢YW{¢;§J€M6 §'F'§

135 *% " W»§£ms haw ~

/E,ea?//€;/ 17¢6
OF 11¢€% NMM // 90'€*§’7?0¢ fig/11 w“@

H¢re§§ oF 4a DHSWMB" u/FA§/Hz A/#M /4/ MS
cla//L H§r/ v)\/ mm /§" 1475 161/ff wm,§us/)rw /4/
77¢§ f?m § ivYNY/ES' {

/0) PL/fwr/§ /i§§§$ /7§ /5 /§§‘0/ 75 /zm//§ ibme .
gg/z¢g 7}/15 C’J{/M /Q€WF JF /1/(//176€@¢.6 SWLES iam :
w§§/¢§ W/z/r //zL/z§ §z/§w§ § @mm§§; 1
g’/A/& "//1/75<577?7€@7”7/06@5 // #f/H
daA/éf/VZ/WA/ 6' /A/WM

  

§§wa
/' €. //1/752 ~» 67717€$ EF
i¢ _/}/'@5/%@€ xyz/62 77¢6§ sw
’)€/)CY§¢§?M§ mg M§//,e/r€}/,

l[)'F//i/)§/’/'”/FF /75% //g MS mgm %@VG§/?EML '
w d/v/L /€/c'/) mma/v 50/7;'. ///5 @w/§, AM>; ,QM..

c’o/)VK/§mj §¢//-’Fe%§ mvv/z H/\//)»vcm;z. wl mom/§§ , x
/)1§%4/6»#¢7#0¢

W§cf/§w§/¢WL, /M we/W¢ Wm% ms 0
/MTl/¢Y /Zm€; 7//€§€ »/z/m€,ew ,4¢.¢§6#7/04/5 §§ /%§D/m§
/raz" pnm/§ gm 75 zan Q<¢@ /@ /M jfm/,g

#1/0 fZ/)</a/ /V/zzze£)/} L’Ms,v/m¢/ mw ,,,,/p dead/f l
FF L"”A/VW M§ 460 57;%/ ,e/ amusz 046/56

/, ”PL/l//\/f/;F ///;5 gjf/YB,</_s/jép ff 6§/,€50/€/ l//£/\/ JF £'/I//L 1050
// Mm/\/ V¢//W/\/ 7?/§ .M/ VF 7)//5 dam///)é»//'/c///L 5~///7'

/M /%1/§ W/zs 600/er fat/§ jam/wa a/z/ z%§_»/wa§

,0¢/,€50/11//` ` 75 <§Se/¥i§V-oSUS-WN¢JM ' 10@4%%§ W `
M¢L (/me/;ra>'de/»/é. 077/ea Ez/m:; W 7//€:5¢¢ 4% j
g /’,eoc§$ W/)?f n//LL `ZeA/§ zba//¢/ W 3§/6?)7?!~7;;2;
MW* 75 am §§ Mm§¢/J§WHZS, H§M 75
M//Vg m/ M/ gp/,y& &MF/”/M<¢}/ 75 %€€/E/M/V”/F//z§
ll L gmp%””¢ MM/”y,/) fit/0 /WA//£ MvA/&$f'

//1'5 ,¢/M/ /z/€§,

179 /?’/< 5”’”/”@‘/5//73@>§ Pd»//w§, wm ch/z§.p//§»//m¢
D/f/’W§, /' €~ 465 §§ %y@w?/H, §)MM@; ,%/n@£§§,\§§,
é</>o<sz/,ee 75 7?/§ dew/wm M§/Jf));w /IM¢§M»W \
me few mm §1/§§¢/»/6» mar a»w A//r ¢§ cwme ' 1
W ff C'/ILd¢/MW,€, H,< £/n/§ w M/g; /%/m/L/#f§v, v

pl§¢gpe¢ra@ wa iam/1366 05 //w yi@§»/§,
PW/_W/H'~ 5¢§¢’§ ~;#;25 M/Lw/¢ Ab¢L/z§ w W/ML Z}rme§..

M M@ § MWM‘

gO,A/é’_f£$%pM/§§ %%§§§;W%%M» §
3’”@ W/IS w M»§ MW,@/Z ‘@"’6 1

